        Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 1 of 40




                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF IOWA


JONATHAN ORTEGA and RYAN PATE, on                                    Case No. 21-CV-215
behalf of themselves and all others similarly
situated,                                                            CLASS ACTION COMPLAINT

                                    Plaintiffs,
                                                                     JURY TRIAL DEMANDED
v.

THE IOWA BOARD OF REGENTS and
MICHAEL RICHARDS

                                    Defendants.



         Plaintiffs Jonathan Ortega and Ryan Pate (“Plaintiffs”), by and through the undersigned

counsel, brings this class action against Defendants The Iowa Board of Regents (“The Board”) and

Michael Richards, in his official capacity as the President of the Board (collectively “Defendants”),

and allege as follows based upon information and belief, except as to the allegations specifically

pertaining to them, which are based on personal knowledge.

                                       NATURE OF THE ACTION

         1.       This is a class action lawsuit on behalf of all persons who paid tuition and/or fees

to attend universities governed by the Board 1 for in-person, on-campus educational services and

experiences, and access to campus resources and facilities for the semesters or terms affected by

Coronavirus Disease 2019 (“Covid-19”), including the Spring 2020 term or semester, and had their

course work moved to online only learning.

         2.       Such individuals, including the Plaintiffs, paid all or part of the tuition which ranges



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 The Iowa Board of Regents governs three universities at issue in this case, the University of Iowa, Iowa State
University, and the University of Northern Iowa (collectively, the “Universities”).

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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 2 of 40




from several thousand dollars for in-state undergraduate students per semester, to more than ten-

thousand dollars for out-of-state undergraduate students, and international undergraduate students,

based on area of focus.

        3.      Both in-state, out-of-state, and international students were also charged hundreds

of dollars in mandatory fees, including Activity, Services, Building & Recreation Fees, Health

Facility Fees, Health Fees, and Standard Technology Fees (“Mandatory Fees”), as well as a myriad

of other course and program specific fees.

        4.      Defendants have not permitted the Universities to refund any amount of the tuition

or any of the Mandatory Fees, even though they each implemented online only or remote-only

distance learning starting on March 23, 2020.

        5.      Because of Defendants’ response to the Covid-19 pandemic, on or about March 23,

2020, the Universities stopped providing the services or facilities the Mandatory Fees were

intended to cover.

        6.      According to a Public Release on March 10, 2020, Defendants “asked the three

Regent Institutions to move as quickly as possible towards the ability to deliver instruction

virtually.” 2 In a follow up release on March 18, 2020, Defendants declared, pursuant to the Board

policy, a state of emergency at all institutions under jurisdiction of the Board. 3

        7.      The Universities uniformly responded to Covid-19 under the direction, policies,

and control of Defendants. 4

        8.      The Universities’ failure, at Defendants’ direction, to provide the services, for




2
  https://www.iowaregents.edu/news/board-news/update-from-board-of-regents-president-mike-richards-on-
coronavirus
3
  https://www.iowaregents.edu/news/board-news/statement-from-board-of-regents-president-mike-richards-
declaring-regents-state-of-emergency
4
  https://web.iastate.edu/safety/updates/covid19/archive

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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 3 of 40




which tuition and the Mandatory Fees were intended to cover since approximately March 23, 2020,

is a breach of the contracts and breach of the covenant of good faith and fair dealing between

Defendants and Plaintiffs and the Class and is unjust.

        9.     Plaintiffs and the members of the Class have paid for tuition for a first-rate on-

campus, in-person educational experience, access to services and facilities, and all the appurtenant

benefits offered by the first-rate universities, which Defendants run.

        10.    Instead of receiving such benefits, Plaintiffs and the members of the Class were

provided a materially different alternative – namely, online instruction and remote learning without

the benefit of access to campus or in-person educational experiences -- and that alternatives

constitutes a breach of the contracts entered into by Plaintiffs and the members of the Class with

Defendants.

        11.    As to the Mandatory Fees, Plaintiffs and the members of the Class have paid fees

for services and facilities which were simply not being provided during the relevant time period.

This failure also constitutes a breach of the contracts entered into by Plaintiffs and the members of

the Class with Defendants.

        12.    In the alternative, Plaintiffs allege that Defendants’ retention of full tuition and full

fees -without receiving the full educational services that were previously available and promised

– is unjust.

        13.    Plaintiffs and the Class were deprived of their rights to in-person on campus classes,

the communities of each University, access to these facilities, services, and experiences across all

three campuses.

        14.    Rather than offer partial refunds, credits, or discounts to Plaintiffs and the members

of the Class and balance the financial difficulties associated with Covid-19, Defendants have



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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 4 of 40




instead elected to place the financial burden entirely upon its students by charging them full tuition

and Mandatory Fees when the services the Universities provided were not the full educational

opportunities, experiences, and services for which Plaintiffs and the Class bargained, contracted,

and paid.

        15.     This action does not seek to allege “academic malpractice.”

        16.     Specifically, Plaintiffs challenge Defendants’ decision to retain monies paid by

Plaintiffs and the members of the Class while refusing to offer any refunds, provide any discounts,

or apply any credits to the accounts of Plaintiffs and the Class when Defendants failed to provide

the in-person, on-campus educational services and experiences, and access to campus resources

and facilities that were bargained for promised and agreed to.

        17.     Notwithstanding any argument that Defendants had no choice but to transition the

Universities to an online-only educational model with limited campus access due to government

orders then in effect, there was no government or municipal order in place that required Defendants

to retain the full amount of tuition and the full amount of fees from Plaintiffs and the members of

the Class. The University has not and cannot argue that the retention of the full tuition and

Mandatory Fees of Plaintiffs and the Class was done for the health and safety of students, faculty,

staff or the public at large.

        18.     Plaintiffs seek, for themselves and the members of the Class, Defendants’

disgorgement and return of the pro-rated portion of tuition and Mandatory Fees, proportionate to

the amount of time in the respective semester when Defendants closed the Universities and

switched to online only learning.

        19.     Plaintiffs seek for themselves and the members of the Class protections including

injunctive and declaratory relief protecting themselves and the members of the Class from paying



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      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 5 of 40




the full cost of tuition and full Mandatory Fees during the pendency of the Covid-19 pandemic in

light of the educational services, opportunities, and experiences Defendants can actually safely

provide.

       20.    The Defendants are obligated to uphold the Iowa and United States Constitution.

       21.    By denying in-person learning and on-campus benefits and opportunities,

Defendants have violated the Iowa Constitution, Article I, § IX and Article I, § XVIII and the

United States Constitution’s Fifth and Fourteenth Amendments.

       22.    Plaintiffs and members of the Class are entitled to a pro-rated refund of tuition and

Mandatory Fees for the duration of Defendants’ Covid-19 related closures of the Universities for

the in-person education and on-campus services and opportunities that Plaintiffs and members of

the Class have been denied.

                                           PARTIES

       23.    Plaintiff Jonathan Ortega was an undergraduate student at Iowa State during the

Spring 2020 semester. Iowa State charged Plaintiff Ortega approximately $4,576.00 for in-state

tuition and approximately $638.95.00 in Mandatory Fees, including a $145.00 Standard

technology Fee, a $120.00 Health Fee, a $365.95.00 Activity, Service, Building & Recreation Fee,

and a $8.00 Health Facility Fee for the Spring 2020 semester. Plaintiff Ortega was also charged

fees related to specific class including: $150.00 Df econ 101/101H Fee, a $90.00 Scf. Phys 311

Fee, and a $25.00 Econ 101 Immed. Access 0006 Fee.

       24.    Plaintiff Ortega is a resident of Ames, Iowa.

       25.    Plaintiff Ortega paid tuition and Mandatory Fees for in-person educational services,

experiences, opportunities, and other related collegiate services. Plaintiff Ortega has not been

provided a pro-rated refund of the tuition for his in-person classes that were discontinued and



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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 6 of 40




moved online, or the Mandatory Fees he paid after the University’s facilities were closed and

events were cancelled.

        26.     Plaintiff Ryan Pate was an undergraduate student at Iowa State during the Spring

2020 semester. Iowa State charged Plaintiff Pate approximately $4,852.00 for in-state tuition and

approximately $638.95.00 in fees, including a $145.00 Standard technology Fee, a $120.00 Health

Fee, a $365.95.00 Activity, Service, Building & Recreation Fee, and a $8.00 Health Facility Fee

for the Spring 2020 semester. Plaintiff Pate was also charged a $3.00 Senior Fee, and various class

related fees including: a $30.00 Scf. Nrem 330 Fee, a $50.00 Scf. A Ecl/Biol 458L Fee, and a

$50.00 Scf A Ecl/Biol 459L Fee.

        27.     Plaintiff Pate is a resident of Ames, Iowa.

        28.     Plaintiff Pate paid tuition and Mandatory Fees for in-person educational services,

experiences, opportunities, and other related collegiate services. Plaintiff Pate has not been

provided a pro-rated refund of the tuition for her in-person classes that were discontinued and

moved online, or the Mandatory Fees she paid after the University’s facilities were closed and

events were cancelled.

        29.     The nature of the relationship between students, like Plaintiffs and the proposed

Class and the Board is contractual.

        30.     The terms of that contract are established through the documents, policy materials,

prior course of conduct, and the expectations of the parties, including through the admission,

application, acceptance, enrollment, registration, and payment processes. Many of those

documents are not in the possession, custody, or control of Plaintiffs at the time of filing this action.

        31.     Defendants, acting on behalf of the Universities, set and establish the terms of that

contract, and control the nature of the offers and educational services the Universities provide.



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          Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 7 of 40




           32.     Defendant the Iowa Board of Regents is a group of nine citizens who govern the

Universities, through policymaking, coordination, and oversight as provide by law. 5

           33.     The Board is granted its authority by the Iowa Legislature through Iowa

Administrative Code Chapter 262 and Iowa Administrative Code Chapter 681.

           34.     Defendant Michael Richards is the President of the Iowa Board of Regents, has

made decisions regarding the closures and cancellations related to Covid-19, has the authority and

discretion over the processes by which the Universities can elect to refund or distribute refunds,

discounts, or credits to students.

           35.     Upon information and belief, Defendants jointly controlled and/or managed the

Universities, including the authority to contract with students and the decisions to retain the full

amount of tuition, the full amount of fees, and provide students with less than the full amount of

services beginning during the Spring 2020.

                                      JURISDICTION AND VENUE

           36.     This Court has jurisdiction over the action pursuant to 28 U.S.C. § 1332(d)(2)(A),

as modified by the Class Action Fairness Act of 2005, because at least one member of the Class,

as defined below, is a citizen of a different state than Defendants, there are more than 100 members

of the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive of interest

and costs.

           37.     This court has personal jurisdiction over Defendants because Defendants maintains

its principal place of business in this District.

           38.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendants

operate their headquarters within this district.



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    https://www.iowaregents.edu/the-board

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      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 8 of 40




                                 FACTUAL ALLEGATIONS.

       39.     Plaintiffs and the members of the Class attended the Universities governed by

Defendants during the Spring 2020 semester and paid tuition and the Mandatory Fees.

       40.     Tuition at Iowa State for the Spring 2020 semester ranged from approximately

$4,000.00 - $5,000.00 for in-state undergraduate students, approximately $11,500.00 - $13,000.00

for out-of-state undergraduate students, and approximately $12,250.00 - $14,000.00 for

international undergraduate students, based on area of focus. Both in-state, out-of-state, and

international students were also charged approximately $636.95 in Mandatory Fees, including a

$363.98 Activity, Services, Building & Recreation Fee, a $8.00 Health Facility Fee, a $120.00

Health Fee, and a $145.00 Standard Technology Fee.

       41.     Tuition at the University of Iowa for the Spring 2020 semester was approximately

$4,000.00 for in-state undergraduate students and approximately $15,000.00 for out-of-state

undergraduate students. Both in-state and out-of-state students were also charged approximately

$675.25 in Mandatory Fees, including a $260.50 Technology Fee, a $36.00 Activity Fee, a $39.50

Service Fee, a $62.00 Student Union Fee, a $61.50 Building Fee, a $67.00 Recreation Facility Fee,

a $9.00 Arts & Cultural Events Fee, a $13.00 Career Services Fee, a $118.50 Student Health Fee,

and a $8.25 Mental Health Fee.

       42.     Tuition at the University of Northern Iowa for the Spring 2020 semester was

approximately $8,000.00 for in-state undergraduate students and approximately $18,000.00 for

out-of-state undergraduate students. Both in-state and out-of-state students were also charged

approximately $1,273.00 in Mandatory Fees, including a Technology Fee, a Health Fee, a Heath

Facility Fee, a Student Activity Fee, a Student Services Fee, a Building Fee, and a Recreation Fee.

       43.     Plaintiffs and the members of the Class paid tuition for the benefit of on-campus



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          Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 9 of 40




    live interactive instruction and an on-campus educational experience throughout the semester.

           44.     Plaintiffs and Defendants entered into a contractual agreement where Plaintiffs

would provide payment in the form of tuition and Mandatory Fees and the Universities, in

exchange, would provide in-person and on-campus educational services, experiences,

opportunities, and other related services.

           45.     The terms of the contractual agreement were set forth in publications from the

Universities, as directed by Defendants, throughout the application process, the admission process,

the enrollment, the registration process, and the payment process – including, but not limited to,

the Universities’ websites and circulars, the application submitted by Plaintiffs and members of

the Class, the acceptance letters received by Plaintiffs and members of the Class, the registration

materials, the course catalog, course listings, student handbooks, policy manuals, and other

documents conveying the educational services that Defendants were offering and would provide.

           46.     For example, Iowa State provided students with an acceptance letter which it

highlighted the in-person and on-campus experiences a student receives at Iowa State – stating

“Learning from world-class professors and engaging in experiences in and out of the classroom

will prepare you for life locally and globally. You’ll share one of America’s most beautiful

campuses with students from around the world who seek the education, experience, and diversity

that is uniquely Iowa State.” 6

           47.     Prior to Plaintiffs’ enrollment, Defendants highlighted in circulars, express

statements through the Universities’ websites, application materials, and other documents that in-

person educational opportunities, experiences, and services were material parts of the educational

experiences that Plaintiffs and the members of the Class paid for.



6
    https://twitter.com/karrah_payge/status/834170338619568129/photo/1

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      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 10 of 40




        48.     The Universities, at the direction of Defendants, offered these services to Plaintiffs

in exchange for their enrollment, registration, and payment of tuition and fees.

        49.     Plaintiffs made payments to Defendants based on promises made through those

documents and assertions in lieu of receiving education at other universities or academic

institutions – or enrolling in online only universities for less tuition and fees.

        50.     At the direction of Defendants, however, the Universities have not held any in-

person classes or campus-based educational services since March 23, 2020 for the Spring 2020

semester. All classes during that time were only being offered in a remote online format with no

in-person instruction or interaction.

        51.     Many of the services for which the tuition and Mandatory Fees were assessed were

also terminated or cancelled at or about this time, such as access to University’s health and

wellness facilities, programs or services; fitness facilities; student events or sports; and an in-

person commencement.

        52.     Defendants have not provided reimbursement or refund information regarding

tuition or the Mandatory Fees.

        53.     Students attending the Universities during the Spring 2020 semester and other

semesters impacted by Covid-19 did not choose to attend an online only institution of higher

learning, but instead chose to enroll in the University’s in-person educational programs – with the

agreement that the Universities would provide in-person educational opportunities, services, and

experiences.

        54.     Defendants, though the Universities’ course catalogs, websites, and other material,

promote the value of the classes and courses the Universities offer, particularly in regards to the




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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 11 of 40




practical and hands-on experience a student gains by enrolling in these courses. 7

Iowa State University

         55.      Iowa State has promoted and marketed that these Mandatory Fees are associated

with specific services that the University provides. For example, Iowa State represents that:

               a. The Activity, Services, Building and Recreation Fee “supports a variety of activities

                  and services for all students. It is not based on whether or not a student uses an

                  individual activity or service. This fee provides several benefits such as student

                  admission rates to concerts and athletic events and, unlimited use of CyRide, the

                  Ames bus system. In addition, the fee provides support for campus recreation

                  facilities, the Memorial Union, and campus organizations and services as allocated

                  by the Government of the Student Body.”8 The Fee is further broken down into

                  four parts including: a $44.00 Student Activities Fee, a $116.60 Student Services

                  Fee, a $42.55 Building Fee, and a $160.80 Recreation Fee.

               b. The Heath Facility Fee: “All students are charged an $8 Health Facility Fee each

                  fall and spring semester except for students exclusively registered for the following:

                  courses for which no tuition is assessed; continuous registration status courses; and

                  high school students enrolled under the Postsecondary Enrollment Options Act.

                  These exceptions do not apply to international students (except where noted) or

                  graduate students on graduate assistantships.” 9

               c. The Health Fee “partially finances the services of the Thielen Student Health

                  Center.” “Students who are exempt from the mandatory health fee may use the



7
   https://catalog.iastate.edu/previouscatalogs/2019-20.pdf
8
   https://www.registrar.iastate.edu/fees/glossary-of-fees#activ
9
  https://www.registrar.iastate.edu/fees/glossary-of-fees#healthfacility

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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 12 of 40




                  services of the Thielen Student Health Center on a fee for service basis, or may

                  elect to pay the health fee and health facility fee (based on their student type), which

                  allows participants to receive services at the Thielen Student Health Center for the

                  same rate as students who pay the mandatory health fees.” 10

               d. The Technology Fee: “All students will be charged a technology fee each semester.

                  The technology fee covers things such as maintenance, support systems,

                  AccessPlus, and email.” 11

         56.      In Iowa State’s own Factbook, it touts its research programs, promising students

“nearly 100 centers and institutes, world-class facilities and award-winning researchers and

scholars.” 12

         57.      Students are similarly promised the ability to attend various NCAA Division I

sporting events at the stadiums and arenas paid for; recreational, arts, and student activity

opportunities at various buildings on campus; and access to several health and wellness facilities. 13

         58.      On its website Iowa State promises hands-on learning and access to state of the art

facilities. “An Iowa State university adventure is for those who want to create, share, and apply

knowledge to make the world a better place. Learn and work alongside leading scholars who are

conquering some of the world’s biggest challenges – feeding the hungry, finding alternative fuels,

and revolutionizing manufacturing.” 14 “From your first step on campus, you will be surrounded

by world-renowned professors, resume-building opportunities and state-of-the-art facilitates to

help you accomplish your dreams.” 15


10
   https://www.registrar.iastate.edu/fees/glossary-of-fees#studenthealth
11
   https://www.registrar.iastate.edu/fees/glossary-of-fees#tech
12
   2018-2019 Facts: https://web.iastate.edu/sites/default/files/about/docs/facts/facts.pdf (Last accessed July 16,
2021).
13
   Id.
14
   https://www.admissions.iastate.edu/WhyISU
15
   https://www.admissions.iastate.edu/apply

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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 13 of 40




University of Iowa

        59.      The University of Iowa has similarly published and defined the uses and services

for which its Mandatory Fees were intended to cover and be provided by Defendant:

              a. The Technology Fee “supports instructional computing demands by providing

                 financial support to improve the quality and quantity of student computing

                 resources (facilities, equipment, and services) and library and other information

                 sources.” 16

              b. The Student Health Fee “allows a student access to Student Health to see a doctor

                 with no office visit charge as many times during the semester as he/she needs. This

                 fee also covers health promotion services including fitness assessments, nutrition

                 counseling, etc.” 17

              c. The Mental Health Fee “will support an increase in the number of licensed

                 counselors serving UI students… [by] [c]reating a safer and healthier living and

                 learning environment by working to address mental health issues is key to the

                 mission of the University” and will “enhance student access to mental health care

                 services.” 18

              d. The Student Activity, Student Services, and Student Union Fees “provide funding

                 to support the multitude of activities (student organizations/activities; partnership

                 of student governments) and services (Cambus/Bionic Bus; Daily Iowan) available

                 to UI students, both on and off campus.” 19




16
   http://web.archive.org/web/20200614010750/https://registrar.uiowa.edu/mandatory-fees (Last accessed July 16,
2021).
17
   Id.
18
   Id.
19
   Id.

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         Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 14 of 40




             e. The Building Fee “contributes to funding for certain construction projects on the

                UI campus.” 20

             f. The Arts and Cultural Events Fee “supports cultural events and performances on

                campus that are free to students.” 21

             g. The Recreation Facility Fee: The fee “supports the operation and maintenance of

                Recreational Services facilities on the UI campus, including the new Campus

                Recreation and Wellness Center (CRWC), as well as programmatic offerings of

                Recreational Services. The establishment of the fee was essential for the

                construction of the CRWC and is used to help pay the debt service on the facility.

                Beginning with the fall 2010 semester, a Recreational Services membership is

                required to access all recreation facilities on campus, including the CRWC, Field

                House, Hawkeye Tennis & Recreation Complex (HTRC), Fitness East and

                Recreation Building. A Recreational Services membership is included in the

                recreation fee. Once inside the facilities, most activities, including swimming,

                fitness, rock climbing, racquetball, basketball, volleyball, and Group Exercise

                classes are included with the membership. Beyond access to all recreation facilities

                on campus, members also receive discounts on program registration (including

                Lesson Programs, Rowing, Tennis Programs, Aquatics and Adventure Trips), and

                reduced tennis court fees.” 22

             h. The Career Services Fee supports the services within the University of Iowa

                Pomerantz Career Center for all undergraduate students. 23


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   Id.
21
   Id.
22
   Id.
23
   Id.

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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 15 of 40




              i. The Professional Enhancement Fee is charged to all graduate students and supports

                 “professional enhancement opportunities”. 24

        60.      Furthermore, the University of Iowa markets its traditional, on-campus courses as

an entirely different product than its Distance and Online Education program, which it houses on

a separate and distinct website. 25

        61.      The University of Iowa maintains a separate facet of its website dedicated solely to

its campus-based classrooms, access to which are paid for by students and are explicitly meant for

use for courses as well as for reservations by students and faculty alike. 26




        62.      Throughout the University’s website, it expressly states that its facilities are

intended for student and faculty/staff use, eliminating any argument that the University never

promised in-person classroom learning. 27




        63.      The University of Iowa further promotes its unique campus life stating “Iowa


24
   Id.
25
   http://web.archive.org/web/20190617150833/https://distance.uiowa.edu/ (Last accessed July 16, 2021)
26
   http://web.archive.org/web/20200101205238/https://classrooms.uiowa.edu/policies (Last accessed July 16, 2021).
27
   http://web.archive.org/web/20200102060626/https://classrooms.uiowa.edu/eligibility-and-conditions-use (Last
accessed July 16, 2021).

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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 16 of 40




Avenue is a great illustration of what makes the University of Iowa such a unique and exceptional

environment for our students. On one side is where students take many of their undergraduate

courses and on the other is the heart of one of the nation’s top college towns. Downtown Iowa city

is deeply woven into student life at Iowa and there are hundreds of restaurants, stores, coffee chops,

and music venues for students to enjoy.” 28 Further “Iowa City is the best college town in America,

and it’s easy to see why.” 29

        64.      The University of Iowa further emphasized how crucial its hands-on learning is to

what students paid for in its circulars and website. “Experiential, hands-on learning is a core part

of being a student at Iowa, both in the classroom and beyond.” 30

        65.      Within its course catalog and the various descriptions of the courses offered the

University of Iowa promises hands-on experience or instruction no less than 170 times. 31

The University of Northern Iowa

        66.      The University of Northern Iowa has also published and defined the uses and

services for which its Mandatory Fees were intended to cover and be provided. 32

              a. The Technology Fee “supports the expansion of discipline-specific technology-

                 based services including laboratories, multimedia presentation classrooms, and

                 demonstration stations. It also funds the replacement of equipment in student labs

                 and supports interdisciplinary curriculum development, expanded data network

                 access to digital resources, improved library access systems, and enhanced online

                 learning systems and assistive technologies.” 33



28
   https://tour.concept3d.com/share/MBPUxf5tz/stop/2
29
   https://tour.concept3d.com/share/MBPUxf5tz/stop/3
30
   https://uiowa.edu/academics/career-preparation
31
   https://ir.uiowa.edu/cgi/viewcontent.cgi?article=1032&context=registrar_catalogs
32
   https://tuition.uni.edu/glossary-fees#mandatory (Last accessed July 6, 2021).
33
   Id.

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         Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 17 of 40




             b. The Health Fee “ensures student access to essential health services, including

                medical, counseling and wellness services. It provides funding for office visits

                with a healthcare provider for student illnesses or injuries at no cost. It also

                supports public health and mental health initiatives on campus and promotes

                healthy activities.” 34

             c. The Health Facility Fee “provides the revenue stream to meet the bond

                requirements of debt incurred to renovate and expand the Student Health Center

                and to ensure effective maintenance and operation of the facility.” 35

             d. The Student Activities Fee “provides support to a broad range of services and

                activities for students, including Northern Iowa Student Government, student

                organizations, fine arts programs, intercollegiate academic activities, the student

                newspaper, homecoming and family weekend activities, diversity and inclusivity

                programming, and activities sponsored by the Office of Student Life.” 36

             e. The Student Services Fee “supports intercollegiate athletics which provides free

                tickets for students to attend athletic events. The fee also provides free

                transportation on the Panther Shuttle and Weekend SafeRide.” 37

             f. The Building Fee “provides the revenue stream to meet the bonding requirements

                of debt incurred for the renovation and expansion of Maucker Union and repairs to

                the roof and structure of the UNI-Dome. It ensures effective maintenance and

                operation of the facilities.” 38




34
   Id.
35
   Id.
36
   Id.
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   Id.
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   Id.

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           Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 18 of 40




                  g. The Recreation Fee “primarily funds drop-in recreation, intramurals, and fitness

                     programs and events. It covers increased costs of student wages, utility

                     assessments, equipment replacement and administrative overhead.” 39

            67.      Furthermore, the University of Northern Iowa markets its traditional, on-campus

courses as an entirely different product than its Distance and Online Education program, with the

same tuition rates for in-state and out-of-state residents. 40

            68.      Northern Iowa heavily promotes its campus and the facilities and activities that

accompany it. “UNI students enjoy a vibrant college experience living on campus where they are

close to classes, award-winning dining, NCAA Division I Athletics, concerts, sport clubs,

intramurals, on-campus jobs and student organizations. Options for on-campus living include

residence halls and apartments.” 41

            69.      Northern Iowa promises to provide various research opportunities for students that

necessitate the use of campus resources and equipment paid for by students, stating that

“Undergraduate students at UNI have the opportunity to engage in hands-on research with

faculty.” 42

            70.      Northern Iowa induces students with its academic major descriptions that

necessarily require on-campus facilities and resources. 43




39
     Id.
40

http://web.archive.org/web/20190801165301/https://continuinged.uni.edu/?utm_source=academics&utm_medium=
web&utm_campaign=distance-education (Last accessed July 16, 2021).
41
   http://web.archive.org/web/20190801165319/https://uni.edu/resources/campuslife (Last accessed July 16, 2021).
42
   Id.
43
   http://web.archive.org/web/20190801192915/https://uni.edu/resources/colleges-departments (Last accessed July
16, 2021).

                                                       18
         Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 19 of 40




           71.      The University of Northern Iowa similarly emphasized, on its website and through

its application portal the importance of hands-on learning that it promised to provide. “True to its

roots, UNI continues to emphasize hands-on service learning and retains the proud distinction of

leading Iowa’s number-one teacher education program.” 44

           72.      Defendants collectively provided Plaintiffs and members of the Class materials that

reflected the following on-campus services, experiences, and opportunities at the Universities:




44
     https://uni.edu/resources/history-traditions; https://www.commonapp.org/explore/university-northern-iowa.

                                                          19
Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 20 of 40




                                20
Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 21 of 40




                                21
Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 22 of 40




                                22
Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 23 of 40




                                23
Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 24 of 40




                                24
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 25 of 40




       73.     Indeed, the Board has expressly stated that “revenue generated through new

differential tuition assessments will be used to maintain the quality of the academic programs and

support the cost of instruction, which includes: salaries and other direct instructional costs such as

the hiring and retention of faculty, modernization of laboratory equipment and instructional

technology, renovation and renewal of instructional facilities, equipment and lab supplies, and

other related expenses; administration; student services; library and technology access; facilities


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       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 26 of 40




and operations; and equipment.” 45 In other words, this list refers to exactly what the tuition

payments of Plaintiffs and the members of the Class are meant to cover – most of which was no

longer provided as promised once students were constructively evicted from the three campuses.

         74.      Other documents, including those not presently available to Plaintiffs, conveyed

the same offers, representations, or promises – of on-campus and in-person educational services.

         75.      Further, students, like Plaintiffs, would reasonably expect to receive on-campus and

in-person educational services at the time the contracts were entered and at the time payment of

tuition and Mandatory Fees were made, based on the past course of conduct, the past

representations, the past experiences, and the natural of the educational services the Universities

had provided for decades.

         76.      However, that is not what students, including Plaintiffs, received during the

semesters affected by Covid-19.

         77.      Defendants recognized this fact, for example an email sent to students at the

University of Iowa stated “the university understands this is not what students or their instructors

signed up for at the start of the semester. The decision to move to virtual instruction was not made

easily, but it was determined that proactive steps were necessary to maintain the health and safety

of our students, faculty, and staff.” 46

         78.      The online-only learning offered to students are materially different as compared

to what the educational experience afforded Plaintiffs and the members of the Class once was.

         79.      Plaintiffs and members of the Class have been deprived of the opportunity for

collaborative learning and in-person dialogue, feedback, and critique.


45
   https://www.iowaregents.edu/media/cms/0519_ITEM_3__Tuition_and_Fees_C21821D2F1DB6.pdf (Last
accessed July 16, 2021).
46
   https://dailyiowan.com/2020/03/30/ui-will-not-refund-students-tuition-during-virtual-instruction-will-refund-
some-housing-and-course-fees/

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      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 27 of 40




       80.        Plaintiffs and members of the Class were denied access to facilities such as

libraries, laboratories, computer labs, recitations, and study rooms, and these types of facilities are

integral to a college education.

       81.        Plaintiffs and members of the Class were denied access to activities offered by

campus life fosters intellectual and academic development and independence, and networking for

future careers.

       82.        Defendants priced the tuition and Mandatory Fees based on the in-person

educational services, opportunities and experiences it was providing on campus.

       83.        Defendants have not made any refund of any portion of the tuition Plaintiffs and

the members of the Class paid for the semesters affected by Covid-19, and they have offered no

discount, rebates, or refunds going forward.

       84.        Defendants have not refunded any portion of the Mandatory Fees it collected from

Plaintiffs and the members of the Class for the affected semester even though it closed or ceased

operating the services and facilities for which the Mandatory Fees were intended to pay.

       85.        Plaintiffs and the Class members are therefore entitled to a pro-rated refund of the

tuition and Mandatory Fees they paid for the Spring 2020 semester for the remaining days of that

semester after classes moved from in-person to online and facilities were closed.

       86.        Defendants’ practice of failing to provide reimbursements for tuition and

Mandatory Fees despite the materially different nature of the education and other experiences that

it provided, and the reduced consideration associated with the fees, as alleged herein, violates the

law, as well as, generally accepted principles of business conduct.

                                 CLASS ACTION ALLEGATIONS

       87.        Plaintiffs bring this case individually and, pursuant to Rule 23 of the Federal



                                                   27
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 28 of 40




Rules of Civil Procedure, on behalf of the class defined as:

        All persons who paid tuition and/or the Mandatory Fees for a student to attend in-
        person class(es) during the Spring 2020, or any other semester affected by Covid-
        19 at the Universities governed by the Board or Regents, but had their class(es)
        moved to online only learning (the “Class”).

        88.      Plaintiffs reserves the right to modify or amend the definition of the proposed

Classes if necessary before this Court determines whether certification is appropriate.

        89.      This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria of Rule 23 and other statutes and case law regarding class action

litigation.

        90.      The Class is so numerous that joinder of all members is impracticable. Although

the precise number of Class members is unknown to Plaintiffs, the Universities reportedly has a

total of more than 75,000 undergraduate and graduate students were enrolled during 2019-2020

school year at the Universities.

        91.      The names and addresses of all such students are known to Defendants and can be

identified through the Universities’ records. Class members may be notified of the pendency of

this action by recognized, Court-approved notice dissemination methods, which may include U.S.

Mail, electronic mail, Internet postings, and/or published notice.

        92.      The questions here are ones of common or general interest such that there is a well-

defined community of interest among the class members. These questions predominate over

questions that may affect only individual members of the classes because the University has acted

on grounds generally applicable to the classes. Such common legal or factual questions include,

but are not limited to:

              a. Whether the Defendants accepted money from Plaintiffs and the members of the

                 Class in exchange for the promise to provide an in-person and on-campus live

                                                  28
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 29 of 40




                  education, as well as certain facilities and services throughout the semesters

                  affected by Covid-19;

             b.   Whether Defendants breached their contracts with Plaintiffs and the members of

                  the Class by failing to provide them with an in-person and on-campus live education

                  after March 23, 2020;

             c. Whether Defendants breached their contracts with Plaintiffs and the members of

                  the Class by failing to provide the services and facilities to which the Mandatory

                  Fees pertained after mid-March 2020; and

             d. Whether Defendants complied with Constitutional requirements for seizing and

                  retaining private property of the Plaintiffs and the members of the Class;

             e. Whether Defendants afforded Plaintiffs and the members of the Class notice and

                  due process before seizing and retaining their property;

             f. Whether Defendants breached the covenant of good faith and fair dealing with

                  Plaintiffs and the members of the Class by failing to provide them with an in-person

                  and on-campus live education after March 23, 2020;

             g. Whether Defendants breached the covenant of good faith and fair dealing with

                  Plaintiffs and the members of the Class by failing to provide the services and

                  facilities to which the Mandatory Fees pertained after mid-March 2020;

             h. The amount of damages and other relief to be awarded to Plaintiffs and the Class

                  members.

       93.        Plaintiffs’ claims are typical of the claims of the members of the Class because

Plaintiffs and the other members of the Class each contracted with Defendants for in-person and

on-campus live education for the tuition they paid and the services and facilities for the Mandatory



                                                   29
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 30 of 40




Fee that they paid, that the Defendants stopped providing in mid-March.

       94.       Plaintiffs are more than adequate class representative. In particular:

             a. Plaintiffs are committed to the vigorous prosecution of this action on behalf of

                 themselves and all others similarly situated and has retained competent counsel

                 experienced in the prosecution of class actions and, in particular, class action

                 litigation;

             b. Plaintiffs’ interests do not conflict with the interests of the other members of the

                 Class they seek to represent;

             c. Plaintiffs anticipate no difficulty in the management of this litigation as a class

                 action; and

             d. Plaintiffs’ legal counsel has the financial and legal resources to meet the substantial

                 costs and legal issues associated with this type of litigation.

       95.       Class members’ interests will be fairly and adequately protected by Plaintiffs and

their counsel.

       96.       It is impracticable to bring members of the Classes individual claims before the

Court. Class treatment permits a large number of similarly situated persons or entities to prosecute

their common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, expense, or the possibility of inconsistent or contradictory

judgments that numerous individual actions would engender. The benefits of the class mechanism,

including providing injured persons or entities with a method for obtaining redress on claims that

might not be practicable to pursue individually, substantially outweigh any difficulties that may

arise in the management of this class action. A class action is superior to other available methods

for the fair and efficient adjudication of this litigation. The damages or financial detriment suffered



                                                   30
       Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 31 of 40




by individual Class members are relatively small compared to the burden and expense of individual

litigation of their claims against the University. It would, thus, be virtually impossible for the

Class, on an individual basis, to obtain effective redress for the wrongs committed against them.

Furthermore, individualized litigation would create the danger of inconsistent or contradictory

judgments arising from the same set of facts. Individualized litigation would also increase the

delay and expense to all parties and the court system from the issues raised by this action. By

contrast, the class action device provides the benefits of adjudication of these issues in a single

proceeding, economies of scale, and comprehensive supervision by a single court, and presents no

unusual management difficulties under the circumstances.

                                     FIRST CAUSE OF ACTION
                                     BREACH OF CONTRACT
                                 (On Behalf of Plaintiffs and the Class)

          97.    Plaintiffs repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          98.    Plaintiffs brings this claim individually and on behalf of the members of the Class.

          99.    Plaintiffs and Class members entered into binding contracts with Defendants by

accepting Defendants’ offer to register for on-campus classes in accordance with the terms of the

Catalogs, Defendants’ publications, communications to students, and Defendants’ usual and

customary practice of providing on-campus courses.

          100.   Defendants offered in-person and on-campus educational services to Plaintiffs and

similarly situated students through the application process, the admission process, enrollment

process, registration process, and payment process, including through numerous documents. 47

          101.   The language on the Universities’ website, circulars, acceptance letters and in other


 Including documents upon information and belief that are in the sole possession custody and control of
47

Defendants.

                                                       31
         Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 32 of 40




materials made available to students promising in-person instruction, campus facilities, services,

and resources became terms of the contract with Defendants. That is, at the time of contract, all

parties had the reasonable expectation that, in exchange for tuition and fee payments, Defendants

would provide Plaintiffs and Class members with an on-campus education. The nature of the

instruction provided by the Universities at the time Plaintiffs and Class members enrolled (i.e., in-

person classroom instruction) as well as the facilities and resources offered by the Universities

were and are material terms of the bargain and contractual relationship between students and

Defendants.

           102.     For example, Plaintiff Ortega was enrolled in PHYS 311: Intermediate Laboratory

during the Spring 2020 semester which promises independent experiments conducted by each

student. 48

           103.     Under their contracts with Defendants, and per Defendants’ usual and customary

practice of providing on-campus courses, Plaintiffs and Class members registered for on-campus

courses and paid Defendants’ tuition and/or fees for Defendants to provide in-person instruction

and access to Defendants’ facilities.

           104.     Plaintiffs and Class members have fulfilled all requirements of their mutually

agreed contracts, having followed the Catalogs’ policies, procedures, and requirements for

registering and paying for on-campus courses and access to on-campus facilities and services.

Plaintiffs and Class members have paid Defendants for all financial assessments starting in the

Spring 2020 semester.

           105.     Defendants have breached its contract with Plaintiffs and the Class by failing to

provide the promised in-person and on-campus live education as well as the services and facilities



48
     https://catalog.iastate.edu/previouscatalogs/2019-20.pdf pg. 1030

                                                           32
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 33 of 40




to which the Mandatory Fees pertained throughout the semesters affected by Covid-19 yet has

retained monies paid by Plaintiffs and the Class for a live in-person education and access to these

services and facilities during these semesters.

          106.   Defendants’ failure to provide in-person instruction and shutdown of the university

facilities amount to a material breach of the contracts

          107.   Plaintiffs and the members of the Class have therefore been denied the benefit of

their bargain.

          108.   Plaintiffs and the members of the Class have suffered damage as a direct and

proximate result of the Defendants’ breach in the amount of the prorated portion of the tuition and

Mandatory Fees they each paid during the portion of time the semesters affected by Covid-19 in

which in-person classes were discontinued and facilities were closed by the Universities.

          109.   Plaintiffs and Class members are entitled to an award of money damages or partial

restitution in an amount to be determined at trial as redress for Defendants’ breach, including but

not limited to prorated reimbursement of the tuition, fees, and other expenses for services that

Defendants failed and continues to fail to deliver fully.

          110.   Defendants’ performance under the contracts is not excused because of Covid-19.

Even if performance were excused or impossible, Defendants would nevertheless be required to

return the funds received for services and/or goods that it did not provide.

                            SECOND CAUSE OF ACTION
                 VIOLATION OF THE TAKINGS CLAUSE - 42 U.S.C. § 1983
                         (On Behalf of Plaintiffs and the Class)

          111.   Plaintiffs repeat and re-allege the factual allegations above as if fully set forth

herein.

          112.   Plaintiffs brings this claim individually and on behalf of the members of the Class.



                                                  33
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 34 of 40




         113.   The Takings Clause of the Fifth Amendment provides property shall not “be taken

for public use, without just compensation.” U.S. Const. amend. V. The Takings Clause is made

applicable to the states through the Fourteenth Amendment. See U.S. Const. amend. XIV; Murr v.

Wisconsin, 137 S. Ct. 1933, 1942, 198 L. Ed. 2d 497 (2017) (citing Chicago, B. & Q.R. Co. v.

Chicago, 166 U.S. 226, 17 S.Ct. 581, 41 L.Ed. 979 (1897)). Thus, the Takings Clause of the U.S.

Constitution prohibits states, and state agencies like the Universities, from taking private property

for public use without just compensation.

         114.   Takings claims may properly be brought against state agencies (such as the

University) and are not barred by sovereign immunity.

         115.   Common law has recognized that there is a property right by an owner in funds held

in an account managed by another. Here, Defendants received payments of tuition and Mandatory

Fees from private citizens, as consideration for the benefit of receiving in-person course instruction

and other on-campus benefits – the funds are thus private in nature but held by a public entity.

Plaintiffs and the members of the Class have a protected property right in all sums they paid to

Defendants.

         116.   Defendants violated the Takings Clause by failing to return to Plaintiffs and the

other members of the Class that portion of the tuition and Mandatory Fees for which they received

nothing, or significantly less, than what they bargained for in return. Neither Plaintiffs nor the

other Class members have made a knowing and voluntary waiver of their constitutional right under

the Fifth Amendment to be paid just compensation for the taking of their property right in those

funds.

         117.   Thus, Plaintiffs and the Class are entitled to just and reasonable compensation for

the taking of their property.



                                                 34
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 35 of 40




                                  THIRD CAUSE OF ACTION
                                DUE PROCESS – 42 U.S.C. § 1983
                               (On Behalf of Plaintiffs and the Class)

          118.    Plaintiffs repeat and reallege the factual allegations above, as if fully set forth

herein.

          119.    Plaintiffs bring this claim individually and on behalf of the members of the Class.

          120.    Government actors must provide adequate due process procedures when depriving

citizens of protected property interests. U.S. Const. amend. XIV.

          121.    Michael Richards is a government actor as defined under the case law and had

control over the processes by which the Universities should elect to distribute refunds, discounts,

or credits to students for Covid-19 closures or cancellations.

          122.    The due process clause of the U.S. Constitution prohibits the State of Iowa and the

governmental agencies that it forms from depriving citizens of a protected property interest without

due process of law.

          123.    Plaintiffs and the Class members had a constitutionally protected property interest

in the tuition and Mandatory Fees they paid for in-person education and on-campus services and

opportunities but were denied due to the Covid-19 pandemic.

          124.    Defendants, including Michael Richards, took action affecting Plaintiffs and the

other Class members’ constitutionally protected property interest by retaining amounts from

Plaintiffs’ and the other Class members’ payment of tuition and Mandatory Fees.

          125.    Defendants deprived Plaintiffs and the other Class members of their protected

property interests without due process of law by, for example:

             a.   Failing to provide timely notice to Plaintiffs and the other members of the Class,

                  whose identity and contact information Defendants either knew, or by exercise or



                                                   35
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 36 of 40




               reasonable diligence should have known, of the refundable nature of the tuition and

               Mandatory Fees;

           b. Failing to design and implement criteria by which the tuition and Mandatory Fees

               can be refunded to Plaintiffs and the other members of the Class in light of the

               action by the Universities to cease or severely limit all on-campus, in-person classes

               and activities due to the Covid-19 pandemic; and

           c. Failing to design and implement a mechanism by which Plaintiffs and the other

               members of the Class can obtain a refund of the tuition in light of the action by the

               Universities to cease or severely limit all on-campus, in-person classes and

               activities due to the Covid-19 pandemic.

       126.    Defendants’ failure to comply with the requirements of due process has resulted in

substantial detriment to the Plaintiffs and the Class.

                              FOURTH CAUSE OF ACTION
                                 UNJUST ENRICHMENT
                   (On Behalf of Plaintiffs and the Class in the alternative)

       127.    Plaintiffs incorporate the allegations by reference as if fully set forth herein.

       128.    Plaintiffs bring this claim of unjust enrichment individually and on behalf of the

members of the Class, in the alternative, and to the extent it is determined a contract does not exist

or otherwise apply, the contract-based claim set forth in the First Cause of Action above.

       129.    By paying tuition and the Mandatory Fees for the Spring 2020 semester, Plaintiffs

and other members of the Class conferred a benefit on Defendants. Accordingly, Defendants

agreed to, among other things, provide an in-person and on-campus live education as well as the

services and facilities to which the Mandatory Fees they paid pertained throughout that semester.

       130.    Defendants have realized such benefits by retaining the payments of tuition and



                                                 36
      Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 37 of 40




fees that Plaintiffs have provided – without providing the benefits that Plaintiffs are owed.

       131.    For example, Defendants failed to provide Plaintiffs and Class Members access to

on-campus facilities after March 23, 2020. Yet Defendants assessed Plaintiffs with tuition and fees

that covered the cost of upkeep and maintenance of such facilities, services, costs, and expenses.

       132.    Plaintiffs were not able to access such facilities or services remotely.

       133.    Plaintiffs paid tuition and Mandatory Fees with the expressed understanding that

such costs included the in-person classes, services, opportunities, and experiences that Iowa State

has previously marketed, promoted, or made available prior to Covid-19.

       134.    The costs incurred for having an online only program are significantly lower than

the overhead needed to provide classes and services on campus. Defendants saved significant

sums of money in the way of reduced utility costs, reduced maintenance and staffing requirements,

reduced or eliminated hours for hourly employees, reduced or eliminated hours for paid work study

students, and otherwise.

       135.    Defendants have been unjustly enriched by Plaintiffs’ payment of tuition and fees.

       136.    Despite not being able to provide such services, Defendants failed to provide

reimbursements for tuition and fees despite the materially different nature of the education and

other experiences that it provided.

       137.    Plaintiffs and members of the putative Classes have sustained monetary damages

as a result of each of Defendant’s breaches of the covenant of good faith and fair dealing.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully requests that judgment be entered in favor of

Plaintiffs and the Class against Defendants as follows:

               (a)     For an order certifying the Class under the FRCP and naming Plaintiffs as



                                                 37
Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 38 of 40




                 representative of the Class and Plaintiffs’ attorneys as Class Counsel to

                 represent the Class;

         (b)     For an order finding in favor of Plaintiffs and the Class on all counts

                 asserted herein;

         (c)     For compensatory damages in an amount to be determined by the trier of

                 fact;

         (d)     For an order compelling disgorgement of the ill-gotten gains derived by

                 Defendants from its misconduct;

         (e)     For an order of restitution and all other forms of equitable monetary relief;

         (f)     For an order awarding Plaintiffs’ reasonable attorneys’ fees, costs, and

                 expenses;

         (g)     For an order awarding pre- and post-judgment interest on any amounts

                 awarded; and,

         (h)     For an order awarding such other and further relief as may be just and

                 proper, including injunctive relief and declaratory relief.

                         DEMAND FOR TRIAL BY JURY

 Plaintiffs demands a trial by jury of any and all issues in this action so triable of right.




                 [SIGNATURE BLOCK ON FOLLOWING PAGE]




                                           38
     Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 39 of 40




Dated: July 16, 2021

                                   Respectfully submitted,




                                   By: ____________________________
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                                     39
Case 4:21-cv-00215-SMR-SBJ Document 1 Filed 07/16/21 Page 40 of 40




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